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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                         (at London)

    UNITED STATES OF AMERICA,                         )
                                                      )
          Plaintiff,                                  )       Criminal Action No. 6: 12-53-DCR
                                                      )
    V.                                                )
                                                      )
    TONY C. MONEY, II and                             )          MEMORANDUM OPINION
    FRANK EMMANUEL SLEDGE,                            )              AND ORDER
                                                      )
          Defendants.                                 )

                                           *** *** *** ***

         This matter is pending for consideration of the Joint Motion to Suppress Evidence filed

on December 21, 2012, by Defendants Tony C. Money, II and Frank Emmanuel Sledge. [Record

No. 146] The defendants have also requested an evidentiary hearing on the issues raised in their

motion. The defendants’ motion was referred to United States Magistrate Judge Hanly A.

Ingram pursuant to 28 U.S.C. § 636(b)(1)(B). On January 14, 2013, Magistrate Judge Ingram

issues a Recommended Disposition regarding the joint motion. [Record No. 152] The report

recommends that the motion be denied without the necessity of a evidentiary hearing.

         Neither the moving defendants nor the United States have filed substantive objections to

the Magistrate Judge’s Recommended Disposition.1 Notwithstanding that fact, the Court has


1
         Although this Court must make a de novo determination of those portions of a magistrate judge’s
recommendations to which objection is made, 28 U.S.C. § 636(b)(1)(C), “[i]t does not appear that Congress
intended to require district court review of a magistrate’s factual or legal conclusions, under a de novo or any
other standard, when neither party objects to those findings.” Thomas v. Arn, 474 U.S. 140, 150 (1985). A
party who fails to file objections to a magistrate judge’s proposed findings of fact and recommendation

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reviewed the materials filed in support of and in opposition to the joint motion and concludes

that it should be denied. Further, the defendants have failed to meet their burden with respect

to their request for an evidentiary hearing. Accordingly, that request will also be denied as well.

                                                     I.

        The facts relevant to the defendants’ motion are summarized in the United States’

response. [Record No. 150] Beginning in May 2012, the Drug Enforcement Administration

(“DEA”) began utilizing a confidential source (“CS”) to make a series of controlled purchases

of oxycodone pills from Todd Brock at his Bell County, Kentucky residence. Two additional

buys were made from Burl Johnson, an alleged subordinate. Each transaction was recorded

using audio and/or video equipment. The final purchase occurred on August 25, 2012.

        On August 13, 2012, counsel and the DEA applied for and received an order authorizing

interception of wire communications occurring to and from telephone number (606) 664-9746,

a residential phone subscribed to and used by Brock at his residence. Actual interception of

communications began on August 17, 2012. The wire intercept was subsequently extended

through September 29, 2012, after several alleged members of the drug conspiracy were arrested.

            As a result of the wire intercepts, several telephone numbers were identified, including:

        •         (859) 509-4258 (Target Phone No. 1) – a pre-paid cellular telephone subscribed

                  to “Vernon Forest,” with a listed address of 3200 Todds Rd., Lexington,




waives the right to appeal. See Wright v. Holbrook, 794 F.2d 1152, 1154-55 (6th Cir. 1986). Further, a
general objection to the entirety of a magistrate judge’s report has the same effect as a failure to object.
Howard v. Sec’y of Health & Human Servs., 932 F.2d 505, 509 (6th Cir. 1991).

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              Kentucky. The United States asserts that “Vernon Forest” is believed to be an

              alias of Defendant Tony Money, II; and

       •      (313) 505-4305 (Target Phone No. 2) – a cellular telephone subscribed to “Sir

              Sledge,” with a listed address of 24733 Patricia Avenue, Warren, MI.

The United States asserts that these devices and numbers were used by individuals supplying

controlled substances to Defendant Brock’s drug organization.

       Some of the recorded conversations involving one or more of the alleged conspirators are

summarized in the government’s response to the defendants’ motion to suppress. This includes

conversations on: (1) August 25, 2012 (call to Brock from Target Phone No. 1) which is believed

to involve a discussion concerning the delivery of an unspecified quantity of illegal drugs; (2)

August 31, 2012 (call to Brock from Target Phone No. 1) which is believed to involve a

discussion concerning finalizing the drug deal discussed by the parties on August 25, 2012, and

involving approximately 2,000 oxycodone pills; and (3) September 1, 2012 (call to Brock from

Target Phone No. 2) which is believed to involve the drug transaction scheduled for that date.

       On September 1, 2012, at approximately 1:45 p.m., law enforcement observed a white,

Toyota Rav-4 automobile backed into Brock’s driveway. This vehicle left the residence

approximately fifteen minutes later. The vehicle displayed a Michigan license plate bearing

CCC 9113 and contained three black males. A check of Michigan registration files revealed that

the vehicle was a 2012 Toyota Rav-4 registered to Hertz Vehicles LLC, Southfield, Michigan.

       After following for some distance, law enforcement officers with the Corbin Police

Department developed probable cause to stop the vehicle based on a traffic violation. During


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the traffic stop, an officer identified the driver of the vehicle as Juan Marcell Flowers of Detroit,

Michigan. The passenger in the front seat was identified as Defendant Frank Emanuel Sledge

of Warren, Michigan, while the third occupant in the rear seat identified himself as “John

Adams.” The Corbin police officer was later able to confirm that the rear-seat occupant was

actually Defendant Tony C. Money, II (a/k/a, Vernon Forest).

       The telephone toll analysis and subscriber information previously obtained by the

government confirmed that Target Phone No. 1 had multiple prior contacts with Defendant

Brock via the intercepted number. Additionally, subsequent intercepted calls from Target Phone

No. 1 indicated that the defendant planned to bring additional quantities of drugs to Brock on or

about September 29, 2012. More specifically, on September 25, 2012, Brock received a call

from an unidentified male calling from the subject phone which indicated that Brock wanted

“two and two” and that the items would be delivered on Saturday, September 29, 2012.

       On Friday, September 28, 2012, DEA Task Force Officer Douglas Carmack obtained a

warrant from United States Magistrate Judge Mona K. Majzoub in Detroit, Michigan which

authorized the DEA to obtain “[a]ny and all information about the location of [Target Phone

Nos. 1 and 2] . . .” The request defined location information as “all available E-911 Phase II

data, GPS data, latitude-longitude data, and other precise location information, as well as data

about which ‘cell towers’ . . . and ‘sectors’ . . . received a radio signal from [the Target Phone

Nos. 1 and 2].” In preparing and obtaining the warrant, DEA Officer Carmack utilized

information obtained from the intercepted wire communications to and from Target Phone Nos.

1 and 2, prior DEA surveillance, and the Corbin Police Department’s traffic stop.


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       The DEA then utilized physical surveillance as well as information from the warrant

issued by Magistrate Judge Majzoub to monitor the progress of Target Phone Nos. 1 and 2 as

they traveled from Michigan to Kentucky on Saturday, September 29, 2012. During this

surveillance, Special Agent Jerel Hughes observed an Audi SUV with Michigan license plates

exit Interstate 75 near Corbin, Kentucky. The agent was able to identify Defendant Sledge as

an occupant of the vehicle, based on his prior review of the defendant’s Michigan operator’s

license. Hughes alerted Kentucky State Police Sargent Lafe Owens who continued surveillance

until the driver was stopped for a traffic infraction. Sargent Owens identified Defendant Money

as the driver and Defendant Sledge as a passenger in the vehicle.

       During the traffic stop, a narcotics dog made a positive alert for the presence of drugs in

the stopped vehicle. As a result, the vehicle was searched. The search revealed approximately

3,000 oxycodone 30 milligram pills, together with a mixture of Xanax pills and methadone, a

money-counter, and a handgun located in the rear hatchback compartment of the vehicle.

Defendant Money was found to be in possession of Target Phone No. 1 at the time of the arrest

while Defendant Sledge possessed Target Phone No. 2.

       On October 25, 2012, Defendants Brock, Money, Sledge and several other individuals

were named in a multi-count indictment returned by a federal grand jury in this district. The

indictment alleges, in part, that these defendants engaged in a conspiracy to distribute

oxycodone, methadone, and alprazolam (Xanax) beginning in April 2011, and continuing

through on or about September 29, 2012, in violation of 21 U.S.C. §§ 841(a)(1)(A) and 846.




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         On December 21, 2012, Defendants Sledge and Money filed their joint motion to

suppress evidence. According to the defendants, the evidence allegedly connected to them was

obtained through illegal searches and seizures pursuant to the September 28, 2012, search

warrant issued by United States Magistrate Judge Mona Majzoub in the Eastern District of

Michigan. They also contend that: (1) the affidavit used to obtain the September 28, 2012 search

warrant was so lacking in probable cause that the good faith exception to the exclusionary rule

established in United States v. Leon, 468 U.S. 897 (1984), is inapplicable; (2) the warrant was

tainted by inclusion of information gathered during wire intercepts authorized by United States

District Amul R. Thapar; and (3) information contained in paragraph 14 of the affidavit

supporting the September 28, 2012, search warrant contained false information regarding

observations made by police during the September 1, 2012, traffic stop. Regarding this last

contention, they assert that the affidavit incorrectly identifies Defendant Money as the rear-seat

passenger.

         Finally, in numerical paragraphs 6 and 7 of their supporting memorandum, the defendants

state:

         6. The defense would request a hearing pursuant to Simmons v. United States,
         390 U.S. 377 (1968) to support our assertions. However, we must acknowledge
         the recent Sixth Circuit opinion in United States v. Melvin Skinner, 09-6497
         (Decided August 14, 2012). In Skinner, the Sixth Circuit held that there is no
         Fourth Amendment violation in the interception of data given off the voluntary
         use of cell phones because one cannot have a reasonable expectation of privacy.
         In essence, the court concluded that if a tool used to transport contraband gives
         off a signal that can be tracked for location, the police can track the signal.

         7. This motion is filed to preserve the issue in light of the possibility the United
         States Supreme Court decides to hear argument and issue a ruling on this Fourth
         Amendment argument.

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[Record No. 146-1, p. 3]

                                                     II.

         As Magistrate Judge Ingram has observed, “a Fourth Amendment search occurs when the

government violates a subjective expectation of privacy that society recognizes as reasonable.”

Kyllo v. United States, 533 U.S. 27, 33 (2001). However, in United States v. Skinner, 690 F.3d

772 (6th Cir. 2012), petition for cert. filed, ___ U.S.L.W. ___, (U.S. Dec. 26, 2012) (No. 12-

7971), the United States Court of Appeals for the Sixth Circuit determined that defendants do

not have a reasonable expectation of privacy in date emanating from pay-as-you-go cellular

telephones which can be used to show the location of the phone. Thus, the government did not

violate the Defendant Skinner’s Fourth Amendment rights when it obtained an order authorizing

the telephone company to release subscriber information, cell site information, GPS real-time

location, and “ping” data for the subject cell phone to learn of the defendant’s location while he

was en route to deliver drugs.2 As Judge Rogers aptly summarized in Skinner,

         When criminals use modern technological devices to carry out criminal acts and
         to reduce the possibility of detection, they can hardly complain when the police
         take advantage of the inherent characteristics of those very devices to catch them.
         . . . The Constitution . . . does not protect [a defendant’s] erroneous expectations
         regarding the undetectability of [his] modern tools.

Id. at 772.



2
         The United States correctly points out that, pursuant to Skinner, a search warrant based on probable
cause is not necessary to obtain the type of GPS and location information sought and obtained in this case.
A lesser standard is all that is required. However, in the present case, the United States sought and received
a warrant for the subject telephones that was based on probable cause which included information obtained
during the Title III wiretaps, physical surveillance conducted by the DEA on September 1, 2012, delivery
of narcotics to Defendant Brock at his Bell County, Kentucky residence, and the traffic stop performed by
the Corbin Police Department which identified at least two occupants of the vehicle.

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       Further, as Magistrate Judge Ingram correctly noted in his Recommended Disposition,

the defendants have failed to provide any support for their contention that the warrant issued on

September 28, 2012, was “fundamentally tainted” by inclusion of information gathered pursuant

to properly-authorized wire intercepts. Likewise, they have failed to provide any information

to support their claim that paragraph 14 of the supporting affidavit contained false information

regarding Defendant Money’s location in the vehicle during the September 1, 2012, traffic stop

in Corbin, Kentucky. Review of the affidavit establishes that the individual located in the rear

seat of the vehicle is referenced throughout the document by the name given to law enforcement

at the time of the traffic stop: John Adams. (See Record No. 146-3; Affidavit of Douglas I.

Carmack, ¶¶ 4, 10, 16, and 18.)

                                                  III.

       Under Franks v. Delaware, 438 U.S. 154, 155-56 (1978), a defendant may challenge the

sufficiency of a previously-issued and executed warrant by attacking the statements contained

in the subject affidavit. However, to obtain a hearing, the defendant must make a substantial

preliminary showing that a false statement was knowingly and intentionally included in the

affidavit or that the subject statement was made with a reckless disregard for the truth.

Additionally, the defendants must also demonstrate that removal of the allegedly false or

recklessly-made statement would invalidate the warrant. Id. at 171-72. The defendant must

identify the disputed portions of the challenged affidavit and must support his or her charges or

falsity or recklessness with an offer of proof.




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       In the present case, the defendants’ request for an evidentiary hearing is based upon

assertions that the affidavit underlying the subject search warrant lacked probable cause to such

an extent that the exception to the exclusionary rule set out in United States v. Leon, 468 U.S.

897 (1984), should not apply. Next, the defendant claim – without factual support – that the

warrant is “fundamentally tainted” by the inclusion of information gathered pursuant to wire tap

intercepts. However, there is simply no basis to require exclusion of information obtained as the

result of a properly-issued Title III wiretap. And the defendants have provided no factual or

legal basis to support a contrary conclusion.

       Finally, the defendants assert that paragraph 14 of the affidavit underlying the search

warrant contains “false allegations . . . that on September 1, 2012, [Defendant] Money was a rear

seat passenger in a vehicle stopped by law enforcement in Corbin, Kentucky.” But as noted by

the Magistrate Judge, the defendants’ assertions do not contain any substantive argument or

discussion or facts to support their claim. Instead, the defendants acknowledge that their motion

and accompanying arguments are intended to preserve the issues in the event the Supreme Court

reverses or materially distinguishes the Sixth Circuit’s recent opinion in Skinner, supra.

       Based on the foregoing, this Court agrees with the United States Magistrate Judge that,

under the circumstances, an evidentiary hearing is not necessary. The defendants have not met

their burden under Franks v. Delaware, supra, and there are no factual issues to resolve. The

statements in issue are not disputed and are neither misleading, false, nor reckless.




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                                             IV.

       The defendants have no factual or legal basis to challenge the search warrant issued by

the United State Magistrate Judge in the Eastern District of Michigan on September 28, 2012.

And under recent Sixth Circuit authority, the defendants have no reasonable expectation of

privacy in GPS or other similar types of data and location information for a cellular telephone

that is being voluntarily used while traveling on public highways. Having conducted a de novo

review of the issues raised by Defendants Money and Sledge in their Joint Motion to Suppress

Evidence, it is hereby

       ORDERED as follows:

       1.     The defendants’ Joint Motion to Suppress Evidence and request for an evidentiary

hearing [Record No. 146] are DENIED.

       2.     The Recommended Disposition of United States Magistrate Judge Hanly A.

Ingram [Record No. 152] is ADOPTED and INCORPORATED herein by reference.

       This 1st day of February, 2013.




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